      Case 2:21-cr-00343-AB Document 46 Filed 05/25/22 Page 1 of 4 Page ID #:438



1    TRACY L. WILKISON
     United States Attorney
2    SCOTT M. GARRINGER
     Assistant United States Attorney
3    Chief, Criminal Division
     THOMAS F. RYBARCZYK (Cal. Bar No. 316124)
4    Assistant United States Attorneys
     Public Corruption and Civil Rights Section
5         1500 United States Courthouse
          312 North Spring Street
6         Los Angeles, California 90012
          Telephone: (213) 894-8452
7         Facsimile: (213) 894-0141
          E-mail:     thomas.rybarczyk@usdoj.gov
8
     Attorneys for Plaintiff
9    UNITED STATES OF AMERICA
10
                             UNITED STATES DISTRICT COURT
11
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,                No. CR 21-343-AB
13
               Plaintiff,                     GOVERNMENT’S EX PARTE APPLICATION
14                                            FOR ORDER UNSEALING DOCUMENT;
                     v.                       DECLARATION OF THOMAS F. RYBARCZYK
15
     HELIOS RAPHAEL DAYSPRING,
16     aka “Bobby Dayspring,”

17                          Defendant.

18

19         Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorney Thomas F. Rybarczyk,
22   hereby applies ex parte for an order that the government’s Motion for
23   Downward Departure under U.S.S.G. § 5K1.1 (Dkt. 43) be unsealed.
24   Defense counsel takes no position on this application.
25   ///
26   ///
27   ///
28   ///
      Case 2:21-cr-00343-AB Document 46 Filed 05/25/22 Page 2 of 4 Page ID #:439



1         This ex parte application is based upon the attached declaration

2    of Thomas F. Rybarczyk.

3    Dated: May 25, 2022                  Respectfully submitted,

4                                         TRACY L. WILKISON
                                          United States Attorney
5
                                          SCOTT M. GARRINGER
6                                         Assistant United States Attorney
                                          Chief, Criminal Division
7

8                                         THOMAS F. RYBARCZYK
                                          Assistant United States Attorney
9
                                          Attorneys for Plaintiff
10                                        UNITED STATES OF AMERICA

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
      Case 2:21-cr-00343-AB Document 46 Filed 05/25/22 Page 3 of 4 Page ID #:440



1                        DECLARATION OF THOMAS F. RYBARCZYK

2         I, Thomas F. Rybarczyk, declare as follows:

3         1.    I am an Assistant United States Attorney in the United

4    States Attorney’s Office for the Central District of California.              I

5    am the attorney representing the government in the case United States

6    v. Helios Dayspring, CR 21-343-AB.

7         2.    On May 13, 2022, the government filed an ex parte

8    application for order sealing documents, including the government’s

9    Motion for Downward Departure under U.S.S.G. § 5K1.1 (“Motion”).
10   (Dkt. 40.)    The government had sought to seal those documents
11   because the Motion discussed information concerning cooperation by
12   defendant HELIOS RAPHAEL DAYSPRING (“defendant”) with the
13   government’s investigation.      On May 17, 2022, this Court granted the
14   government’s request and sealed the government’s Motion.            (Dkt. 42.)
15   The Motion was filed at docket number 43.
16        3.    Prior to the Court signing that order, on May 16, 2022,
17   defendant publicly filed his sentencing memorandum in which he
18   discussed much of the cooperation information the government had

19   filed under seal in its Motion.       (Dkt. 40.)

20        4.    In light of defendant’s public discussion of his

21   cooperation in his sentencing memorandum, the government now seeks an

22   order unsealing its position because the primary reason for its

23   sealing is no longer necessary, i.e., protecting information

24   concerning defendant’s cooperation with the government’s

25   investigation.

26        5.    On May 24, 2022, I informed defendant’s counsel, Sandra

27   Brown-Bodner, that the government would be filing the present ex

28   parte application and asked for her position on the application.              On
      Case 2:21-cr-00343-AB Document 46 Filed 05/25/22 Page 4 of 4 Page ID #:441



1    the same day, Ms. Brown-Bodner informed me via email that she takes

2    no position on the application.

3         I declare under penalty of perjury under the laws of the United

4    States of America that the foregoing is true and correct and that

5    this declaration is executed at Los Angeles, California, on May 25,

6    2022.

7

8                                            THOMAS F. RYBARCZYK

9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
